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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS

 SYMBOLOGY INNOVATIONS, LLC,
                                                     Civil Action No.: 1:21-cv-00045-LY
              Plaintiff,

       v.                                            TRIAL BY JURY DEMANDED

 THE AMERICAN AUTOMOBILE
 ASSOCIATION, INC.,

              Defendant.

              NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Now comes Plaintiff, Symbology Innovations, LLC, by and through its counsel, pursuant

to Fed. R. Civ. P. 41(a)(1)(i), and hereby voluntarily dismisses all of the claims asserted against

Defendant The American Automobile Association, Inc. in the within action WITHOUT

PREJUDICE. The American Automobile Association, Inc. has not served an answer or a motion

for summary judgment.

Dated: April 6, 2021                                 Respectfully submitted,

Jay Johnson                                          SAND, SEBOLT & WERNOW CO., LPA
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                                                     ATTORNEYS FOR PLAINTIFF
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

has been served on April 6, 2021 to all counsel of record who are deemed to have consented to

electronic service via the Court’s CM/ECF system.


                                                    /s/ Andrew S. Curfman
                                                    Andrew S. Curfman




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